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                                                                           2016 Jul-29 PM 08:53
                                                                          U.S. DISTRICT COURT
                                                                              N.D. OF ALABAMA



               UNITED STATES DISTRICT COURT
              NORTHERN DISTRICT OF ALABAMA
                  NORTHEASTERN DIVISION

 TENNESSEE RIVERKEEPER,    )
 INC.,                     )
                           )
     Plaintiff,            )
                           )
                           )
                           )
                           )
 vs.                       )              Case No. 5:16-cv-01029-HGD
                           )
                           )
 3M COMPANY, BFI WASTE     )
 SYSTEMS OF ALABAMA, LLC; )
 CITY OF DECATUR, ALABAMA; )
 MUNICIPAL UTILITIES BOARD )
 OF DECATUR, MORGAN        )
 COUNTY, ALABAMA; and JOHN
 DOES 1-10,                )
                           )
     Defendants.           )
                           )


DEFENDANT 3M COMPANY’S MEMORANDUM OF LAW IN SUPPORT
     OF ITS MOTION TO DISMISS PLAINTIFF’S COMPLAINT
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      Pursuant to Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6), 3M

Company (“3M” or “Defendant”) requests that this Court dismiss the Complaint

for Declaratory and Injunctive Relief (the “Complaint” or “Compl.”) filed by

Tennessee Riverkeeper, Inc. (“Riverkeeper” or “Plaintiff”), as follows:

                     I.     PRELIMINARY STATEMENT
      The Complaint should be dismissed under Rule 12(b)(1). The Court lacks

subject   matter   jurisdiction   because 3M’s     remediation    agreements     with

governmental entities moot Plaintiff’s claims.      In addition, this Court should

abstain from hearing the case.      The Alabama Department of Environmental

Management (“ADEM”) is authorized by the Environmental Protection Agency

(“EPA”) to manage a comprehensive environmental regulatory scheme pursuant to

which it entered into agreements with 3M for the remediation of 3M’s property.

Because that plan of remediation is being adhered to by 3M and is effective,

Plaintiff’s suit serves no useful purpose and the Court’s involvement may create

contradictory requirements for Defendant.

      Plaintiff’s Complaint should also be dismissed under Rule 12(b)(6).

Plaintiff has failed to state a claim for relief as a matter of law because: (1) 3M’s

industrial wastewater discharges from its site are excluded from the definition of

“solid waste” under RCRA, and (2) Plaintiff fails to allege facts that demonstrate

an imminent and substantial endangerment exists.


                                          1
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       Accordingly, Plaintiff’s Complaint must be dismissed.

                               II.   STATEMENT OF FACTS
A.     3M’s Remediation Activities At Its Facility In Decatur, Alabama
       For more than 40 years, 3M manufactured a class of compounds known as

perfluorochemicals (“PFCs”). PFCs were used in life improving products, such as

Scotchgard™ Brand Protector, Scotchban™ and aqueous film forming foams

(AFFF).1 Nonetheless, in 2000, 3M announced that it would phase-out of the

manufacture and use of PFOA and PFOS.2 Although 3M has always (correctly)

believed that PFCs are not harmful to human health or the environment, it agreed

to conduct significant remediation at and around its facilities to address the

presence of PFCs in the environment.3

       Over the last twenty years, 3M has been a party to a series of binding

agreements with ADEM and EPA.4 In 2008, ADEM and 3M entered into a

National Pollutant Discharge Elimination System (“NPDES”) Remedial Action
       1
         3M Light Water AFFF, a fire suppressant, was widely recognized as the best in its class.
Often referred to as a "miracle product," it was used around the world to suppress fuel-fed fires.
       2
         See Ex. A (Letter from Dr. Larry Wendling at 3M to EPA (March 13, 2003)), at 3 (“3M
decided to phase-out its perfluorooctanyl chemistry substantially by the end of 2000. This phase-
out included terminating all PFOA production for commercial sale by the end of 2002.”).
       3
         For example, on March 28, 1996, 3M and ADEM entered into a Consent Order to
respond to solid waste management concerns. See Ex. B (Consent Order). On April 6, 2005,
ADEM and 3M entered into a Corrective Action Agreement (“CAA”). See Ex. C (CAA) at 5.
Both agreements provided for judicial enforcement if 3M failed to comply. See Ex. B (Consent
Order) and Ex. C (CAA). On October 25, 2004, 3M entered into a Memorandum of
Understanding (“MOU”) with EPA pursuant to which it analyzed the impact of PFOA in the
environment. See Ex. D (EPA MOU).
       4
           See supra note 3.

                                                2
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Agreement (“RAA”) “to provide a mechanism…for the performance and oversight

of remediation…that will be undertaken by 3M” on and around its site. 5 The RAA

obligates 3M to install a multilayer cap over a portion of its property; install a

network of monitoring wells; perform sampling and analysis; relocate certain

materials; and restore the site’s environment.6     Throughout this process, “3M

agree[d] to follow ADEM and EPA guidance” and submit certified Annual

Reports.7 This RAA is in effect until 2019, and is judicially enforceable if 3M fails

to comply.8

B.    Plaintiff Files This RCRA Action.
      On June 23, 2016, Plaintiff filed this citizen suit pursuant to Section

7002(a)(1)(B) of the Resource Conservation and Recovery Act (“RCRA”), 42

U.S.C. § 6972(a)(1)(B).        The Complaint alleges that it seeks to “abate the

imminent and substantial endangerment to health and the environment caused by

Defendants’ disposal of…waste containing perfluorooctanoic acid (“PFOA”),

perfluorooctane sulfonate (“PFOS”), and related chemicals[, (together “PFCs”),] at

several locations in and around Decatur, Alabama.”9 Plaintiff asserts that 3M



      5
          Ex. E (RAA), at 1.
      6
          Id. at 3.
      7
          Id. at 3, 4.
      8
          See id. at 6.
      9
          Compl. at ¶ 1.

                                          3
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disposed of PFCs in groundwater and surface water that has contaminated the

Tennessee River.10

       Plaintiff attempts to assert a claim under Section 7002(a)(1)(B) of RCRA, 42

U.S.C. § 6972(a)(1)(B). Plaintiff alleges that it has suffered and will continue to

suffer irreparable harm unless the Court grants the relief sought, which includes

declaratory and injunctive relief, as well as attorneys’ fees and costs.11

                               III.   APPLICABLE STANDARDS

A.     Rule 12(b)(1)
       A court should dismiss cases which are moot for lack of subject matter

jurisdiction pursuant to Rule 12(b)(1).12 A case is moot when there is no longer a

live controversy.13 “[B]ecause mootness is jurisdictional, dismissal is mandated.”14

Similarly, courts should dismiss cases when abstention is warranted.15 Plaintiff’s


       10
            Id. at ¶¶ 1; 47; 48.
       11
            See id. at ¶ 67.
       12
           See Troiano v. Supervisor of Elections in Palm Beach Cty., Fla., 382 F.3d 1276, 1282
(11th Cir. 2004) (“If events that occur subsequent to the filing of a lawsuit…deprive the court of
the ability to give the plaintiff…meaningful relief,…the case is moot and must be dismissed...”).
       13
           See Florida Wildlife Fed'n, Inc. v. S. Florida Water Mgmt. Dist., 647 F.3d 1296, 1299
(11th Cir. 2011) (dismissing appeal as moot because appellants did not show a live case existed
after plaintiffs and EPA had already entered into a consent decree); Little v. Louisville Gas &
Elec. Co., 33 F. Supp. 3d 791, 799, 812 (W.D. Ky. 2014) aff'd in part sub nom., 805 F.3d 695
(6th Cir. 2015) (court dismissed plaintiff’s RCRA claims, determining it could do nothing to
redress the claims and finding them moot because of an order in place with the government that
addressed the problems of which plaintiff complained).
       14
          Florida Pub. Interest Research Grp. Citizen Lobby, Inc. v. E.P.A., 386 F.3d 1070, 1086
(11th Cir. 2004).
       15
         See Sojitz Am. Capital Corp. v. Keystone Equip. Fin. Corp., 88 F. Supp. 3d 59, 61 (D.
Conn. 2015) (“A motion to dismiss based on the abstention doctrine is [] considered as a motion
                                                4
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jurisdictional allegations are not entitled to a presumption of truthfulness.16

Additionally, the court may consider evidence outside the complaint.17

B.     Rule 12(b)(6)
       To survive a Rule 12(b)(6) challenge, the “complaint must contain sufficient

factual material, accepted as true, to ‘state a claim to relief that is plausible on its

face.’”18 Plaintiff’s Complaint should be dismissed because it fails to satisfy these

standards.

                      IV.     ARGUMENTS AND AUTHORITIES
A.     The Complaint Should Be Dismissed For Lack Of Subject Matter
       Jurisdiction.

       1.       Plaintiff’s RCRA claim is moot.
       Plaintiff’s RCRA claim is moot and should be dismissed. A RCRA claim is

moot when a defendant is already remediating the alleged contamination at issue




made pursuant to Rule 12(b)(1).”) (citations omitted); M.D. v. Perry, 799 F. Supp. 2d 712, 715,
n.3 (S.D. Tex. 2011) (“[FRCP] 12(b)(1) governs challenges to a court's subject matter
jurisdiction,” and “Courts also favor Rule 12(b)(1) when evaluating Burford abstention.”)
(citations omitted); Murtaugh v. New York, 810 F. Supp. 2d 446, 464 (N.D.N.Y. 2011) (“A
motion to dismiss based on the abstention doctrine is ... considered as a motion made pursuant to
Rule 12(b)(1).”).
       16
            See Lawrence v. Dunbar, 919 F.2d 1525, 1529 (11th Cir. 1990).
       17
          See U.S. ex rel. Osheroff v. Humana Inc., 776 F.3d 805, 811-12 (11th Cir. 2015) (“For
purposes of Rule 12(b)(1) review for a factual attack on jurisdiction…the district court was
permitted to consider extrinsic documents.”).
       18
          Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550
U.S. 544, 570 (2007)).

                                                5
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and the state is overseeing the cleanup.19 When events render claims moot, a

plaintiff must show a serious prospect that the alleged conduct will continue

notwithstanding the corrective actions already under way.20 Plaintiff has not (and

cannot) allege that there is a “serious prospect” that an imminent and substantial

endangerment will continue to exist given 3M’s remedial activity pursuant to

governmental agreements.

       Without question, the NPDES RAA with ADEM already addresses the

conduct about which Plaintiff complains.21                   3M has completed significant


       19
           See Black Warrior Riverkeeper, Inc. v. Cherokee Mining, LLC, 637 F. Supp. 2d 983,
987-89 (N.D. Ala. 2009) (distinguishing voluntary and involuntary mootness tests and noting
that “[Black Warrior Riverkeeper, Inc.] was obligated to demonstrate that there is a serious
prospect that the CM violations described in its complaint will continue to occur notwithstanding
the consent decree.”) (citations omitted); Ctr. for Biological Diversity, Inc. v. BP Am. Prod. Co.,
704 F.3d 413, 426 (5th Cir. 2013) (analyzing mootness in a CWA citizens suit for discharging
pollutants “by asking whether the [] plaintiff has proven that there is a realistic prospect that the
violations alleged in its complaint will continue notwithstanding government-mandated
corrective action. If not, the case is moot….[T]his ‘realistic prospect’ standard is consistent with
Congress's intent that citizen suits supplement rather than supplant government action.”)
(citations and internal marks omitted); Comfort Lake Ass'n, Inc. v. Dresel Contracting, Inc., 138
F.3d 351, 355 (8th Cir. 1998) (holding that in the context of compliance activities mandated by a
governmental agreement, the citizen plaintiff must prove “there is a realistic prospect that the
violations alleged in [its] complaint will continue notwithstanding” the agreement); Davis Bros.,
Inc. v. Thornton Oil Co., 12 F.Supp.2d 1333, 1338 (M.D. Ga.1998) (“[P]laintiff has presented no
credible evidence supporting a finding of imminent and substantial endangerment to health or the
environment [...] [m]oreover, the proposed remedy of injunctive relief is moot because Conoco
has already agreed to remediate the site and pay for any costs associated with the cleanup, and
the state is overseeing the cleanup more effectively than the court ever could. Thus, the RCRA
claim fails on the merits, and is also moot.”).
       20
            See supra note 19 (all cases).
       21
          See, e.g., Black Warrior Riverkeeper, Inc., 637 F. Supp. 2d at 987 (finding the
defendant’s agreement with ADEM mooted plaintiff’s claim). See also Ex. B (Consent Order),
Ex. C (CAA), Ex. D (EPA MOU), and Ex. E (RAA). Because of 3M’s remediation efforts
pursuant to these agreements, PFC levels have shown marked declines on 3M’s premises, its
discharges from surface water and ground water from its property, and discharges of treated
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remediation on its site and adjacent property pursuant to the RAA, which directly

addresses Plaintiff’s concerns regarding 3M’s discharge to its site and adjacent

property.22 Because 3M is already following an effective plan of remediation on

its site and the adjacent property pursuant to the RAA, the Court is limited in the

relief it could offer Plaintiff.23

       Moreover, Plaintiff’s displeasure with 3M’s remediation efforts does not

preclude dismissal on mootness grounds because ADEM’s decisions regarding

what remediation is necessary is entitled to deference.24



water into the Tennessee River. As a consequence, levels of PFCs in fish in the Tennessee River
have declined dramatically. See Ex. F (2016 ADPH Fish Advisory, ALABAMA DEPARTMENT
PUBLIC HEALTH (“ADPH”) (June 2016), http://www.adph.org/tox/Default.asp?id=1360
(documenting the most recent fish consumption advisories issued by the ADPH at “one-meal-
per-month” for the Baker’s Creek embayment for PFOS, which is an improvement over the “no-
consumption” advisory that existed in this location as recently as 2012, which illustrates the
declining levels of PFCs).
       22
          See, e.g., Ex. G (RAA Annual Report dated 2008), at 3 (“3M will relocate sediment
containing FCs from pond at Wetlands Edge Environmental Center (that received stormwater
run-off from 3M’s former sludge incorporation area (“FSIA”) fields and groundwater from a
well) under the cap. Following approval by ADEM and BP, site preparation activities were
begun in mid-November 2008, and will be complete in 2009.”). The Annual Report dated 2009
notes that the sludge removal and placement into the FSIA that started in the fall of 2008 was
completed on July 1, 2009. See Ex. H (RAA Annual Report dated 2009), at 2. Furthermore, the
2009 Report notes that 3M removed the sediment from the Environmental Center on April 24,
2009; and completed the installation of the soil cover on August 11, 2009. See id. at 3.
       23
          See Florida Wildlife, 647 F.3d at 1303-04 (“If, due to events that have happened…the
court can no longer redress the injuries claimed by the parties, the case is moot and should be
dismissed.”); Black Warrior Riverkeeper, Inc., LLC, 637 F. Supp. 2d at 986-87 (“[T]he requisite
personal interest that must exist at the commencement of the litigation (standing) must continue
throughout its existence (mootness)....A case is moot when it no longer presents a live
controversy with respect to which the court can give meaningful relief.”) (quoting Frulla v. CRA
Holdings, Inc., 543 F.3d 1247, 1250–51 (11th Cir.2008)).
       24
          See, e.g., Black Warrior Riverkeeper, Inc., 637 F. Supp. 2d at 987-89 (explaining that
“[u]nless ADEM is given deference, its reason for existence becomes problematic,” and noting
                                               7
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       In sum, Plaintiff’s RCRA claim is moot and should be dismissed.

       2.      The Court should exercise its discretion and abstain.
       This Court may also dismiss this case for lack of subject matter jurisdiction

because abstention is warranted. Abstention is warranted when, as here, a case

involves technical and scientific issues within the expertise of the state

environmental regulatory agency25 or involves the state’s authority to manage its

environmental program. 26


that plaintiff could not meet its burden of showing that its citizen suit was not moot “simply by
criticizing the consent order as somehow inadequate, and by asking this court to assume a
supervisory role over ADEM and CM”); Ohio Valley Environmental Coalition, Inc. v. Hobet
Mining, LLC, No. 3:08–0088, 2008 WL 5377799 *7-8 (S.D.W.Va. Dec. 18, 2008) (finding a
CWA citizen suit partially moot because defendant had already agreed to do through the consent
order what plaintiffs were requesting through their suit; although the schedule for compliance
was different than what plaintiff’s sought, the court found it reasonable); Clean Air Council v.
Sunoco, Inc. (R&M), No. CIV.A. 02-1553 GMS, 2003 WL 1785879, at *3-4 (D. Del. Apr. 2,
2003) (flexible terms of the agreement did not render it unreasonable).
       25
           See, e.g., McCormick v. Halliburton Co., No. CIV-11-1272-M, 2012 WL 1119493
(W.D. Okla. Apr. 3, 2012) (invoking primary jurisdiction to abstain in a RCRA claim because
the state environmental department was involved); Davis, 963 F. Supp. at 997–98 (accepting the
primary jurisdiction defense because the RCRA claim raised issues within the expertise of the
state environmental department; and “the court's involvement would likely cause further delay of
the investigation of the site and, in view of [the state’s] extensive involvement, would result in a
substantial duplication of effort. Moreover, such intervention has not been shown to be
necessary at this time to protect health or the environment.”).
       26
           See Stratford Holding, LLC v. Foot Locker Retail Inc., No. CIV-12-0772-HE, 2013
WL 5550461, at *3, 6 (W.D. Okla. Oct. 8, 2013) (granting motion to dismiss RCRA claim
because administrative consent order was already in place, and even if it was not, court would
abstain on primary jurisdiction or Burford grounds). See also Boyes v. Shell Oil Products Co.,
199 F.3d 1260, 1265-65 (11th Cir. 2000) (“The purpose of Burford abstention is to protect
complex state administrative processes from undue federal interference. The primary
jurisdiction doctrine is similarly concerned with protecting the administrative process from
judicial interference….In the context of this case, Burford abstention and the primary jurisdiction
doctrine are different labels for the same thing.”) (internal marks and citations omitted)
(emphasis added). The primary jurisdiction doctrine focuses on whether an administrative
agency is better suited than a court to handle the issue (this doctrine does not focus on a federal
court’s interference like the Burford doctrine does).
                                                 8
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                 a.     The primary jurisdiction doctrine applies because this case
                        involves technical scientific issues within ADEM’s expertise.
       The Court may abstain on primary jurisdiction grounds because: (1) the

issues presented are within the scientific and technical expertise of ADEM; (2)

ADEM is charged with managing these issues and, therefore, has expertise in the

area; (3) there is a risk that, if the court were to fashion a remedy as Plaintiff

requests, it would destroy the uniformity of Alabama’s environmental management

efforts; (4) ADEM and 3M have entered into agreements which address the issues

in this case; and (5) 3M has worked diligently in conjunction with ADEM to

remedy the alleged contamination.27 Plaintiff complains about 3M’s management

of waste containing PFCs.28 However, 3M’s discharge and remediation activities

conform to ADEM and EPA’s regulations.29                      If the Court enjoins 3M from

activities that 3M is authorized to pursue, such an order may conflict with

ADEM’s efforts to regulate solid waste under EPA’s guidance.30 Accordingly, the


       27
          See Gamble v. PinnOak Res., LLC, 511 F. Supp. 2d 1111, 1126 (N.D. Ala. 2007) (“No
fixed formula exists for applying the doctrine of primary jurisdiction….five factors to guide a
judge's decision to defer to an agency [include]: (1) the degree of an agency's discretion over the
matter; (2) the relative expertise of the agency and the courts in making the required
determinations; (3) the need for uniformity; (4) the clarity of any pre-existing agency
pronouncements; and (5) the status of any on-going proceedings before the agency.”) (citations
omitted). See also Boyes, 199 F.3d at 1265 (citing United States v. W. Pac. R.R. Co., 352 U.S.
59, 63 (1956)) (“The primary jurisdiction doctrine is…concerned with protecting the
administrative process from judicial interference.”).
       28
            See Compl. at ¶¶ 1, 3, 32-34, 35, 45-46, 62-63.
       29
            See supra note 3.
       30
         See Davis, 963 F. Supp. at 998 (noting that what plaintiffs requested in the RCRA suit
would conflict with the state’s efforts and that “plaintiffs have produced no evidence that human
                                                  9
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Court should abstain and dismiss Plaintiff’s claim for lack of subject matter

jurisdiction.31

               b.      Abstention is also warranted because Alabama has
                       authority to manage its environmental program.
       Known by the name of the Supreme Court case from which it came, the

Burford abstention doctrine authorizes federal courts to abstain from cases to avoid

interfering with state administrative agency proceedings where federal review of

the issues in the case might be disruptive of the “state[’s] efforts to establish a

coherent policy with respect to a matter of substantial public concern.”32

Abstention is appropriate in RCRA cases when a state manages its own EPA-

approved regulatory program and plaintiff’s action amounts to a collateral attack

against the state’s decisions.33


health or the environment will be subjected to imminent danger in the interim if the court
declines jurisdiction to permit the agency to develop its own remedial plan” and “plaintiffs have
not shown a real imperative for this court to act as opposed to letting the agency complete its
investigation and direct the remediation.”).
       31
           See Reiter v. Cooper, 507 U.S. 258, 268–69 (1993) (“Referral of the issue to the
administrative agency [under the primary jurisdiction doctrine] does not deprive the court of
jurisdiction; it has discretion either to retain jurisdiction [and stay the case] or, if the parties
would not be unfairly disadvantaged, to dismiss the case without prejudice.”); Smith v. GTE
Corp., 236 F.3d 1292, 1298, n.3 (11th Cir. 2001) (“Primary jurisdiction is a judicially created
doctrine whereby a court…may dismiss or stay an action pending a resolution of some portion of
the actions by an administrative agency.”).
       32
          See Burford v. Sun Oil, 319 U.S. 315 (1943); New Orleans Pub. Serv., Inc. v. Council
of City of New Orleans, 491 U.S. 350, 361-62 (1989) (distilling the abstention doctrine that
stemmed from Burford) (citation omitted).
       33
           See, e.g., Boyes, 199 F.3d at 1266 n. 12 (noting disagreement about whether Burford
abstention is appropriate in a RCRA case and suggesting that where a state manages a federally
approved environmental program, Burford abstention might be appropriate when plaintiff
collaterally attacks the permitting decisions of a governmental entity). See also Families
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       Plaintiff’s action amounts to a collateral attack on ADEM’s decision to

authorize 3M’s discharges pursuant to its NPDES permit and landfill-discharge

certificates.34 Should this Court issue the relief Plaintiff requests for conduct that

is fully permitted, the Court’s actions would disrupt Alabama’s efforts to establish

a coherent policy with regard to waste management. Interference in Alabama’s

regulatory enforcement is exactly what the Burford abstention doctrine is designed

to protect against. Abstention on Burford grounds is warranted here because

federal review of Plaintiff’s claim “would…disrupt[]…[Alabama’s] efforts to

establish a coherent [environmental] policy.”35

B.     Plaintiff’s Claim Fails As A Matter of Law.
       Plaintiff’s claim fails as a matter of law because: (1) it complains about

discharges by 3M which are exempt under RCRA; and (2) it fails to allege facts


Concerned About Nerve Gas Incineration v. U.S. Dep't of Army, 380 F. Supp. 2d 1233, 1258
(N.D. Ala. 2005) (“Challenges to the adequacy of the state-issued permit are committed to the
state administrative and judicial process…”); Coalition for Health Concern, 60 F.3d at 1193–95;
Friends of Santa Fe County, 892 F.Supp. at 1348 (abstaining on Burford and primary jurisdiction
grounds, and explaining that “Plaintiffs' assertion…is little more than an indirect collateral attack
on the NMED's… present regulatory course.”); Palumbo v. Waste Technologies Indus., 989 F.2d
156, 159–60 (4th Cir.1993) (noting that “plaintiffs’ [RCRA] complaint is nothing more than a
collateral attack on the…permitting decisions of the…EPA”).
       34
          3M discharges its waste pursuant to an NPDES permit and discharges to BFI and
Morgan County landfills pursuant to certificates authorized by ADEM. See Ex. I (NPDES
Permit), Ex. J (Certificate to Discharge to BFI), Ex. K (Certificate to Discharge to Morgan
County). See also Friends of Santa Fe County, 892 F.Supp. at 1348–49.
       35
           Boyes, 199 F.3d at 1265 (citing New Orleans Pub. Serv., Inc., 491 U.S. at 361). See
also Coalition for Health Concern, 60 F.3d at 1194–95 (finding Burford abstention appropriate
in a RCRA action because “Kentucky has an overriding interest in the protection of its
environment…” and “according to the circumstances of this case, the exercise of federal review
at this juncture would be disruptive of Kentucky's efforts…”).

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which demonstrate an imminent and substantial endangerment to health or the

environment.

       1.        3M’s Discharge From Its Site Is Excluded From The Definition of
                 Solid Waste Under RCRA.
       Plaintiff’s RCRA claim, to the extent it is based on discharges covered by

3M’s NPDES Permit, should be dismissed because that discharge does not qualify

as “solid waste” under RCRA.36 To prevail on a RCRA claim, a plaintiff must

show, inter alia, that the alleged contamination involves solid or hazardous

waste.37 Industrial wastewater discharges regulated under the Clean Water Act

(“CWA”) pursuant to an NPDES permit are excluded from the definition of solid

waste under RCRA.38

       Plaintiff contends that 3M’s Decatur facility releases PFCs into the

groundwater and surface water, through which the chemicals are discharged into

the Tennessee River and its tributaries.39 3M, however, is authorized to discharge

industrial wastewater to surface water via point sources on its property pursuant to




       36
          See Water Keeper All. v. U.S. Dep't of Def., 152 F. Supp. 2d 163, 169-70 (D.P.R. 2001)
(dismissing plaintiffs’ RCRA claim to the extent that they relied on discharges of solid waste that
were covered by NPDES permit). See also 42 U.S.C. § 6903(27). The majority of Plaintiff’s
allegations relate to 3M’s industrial wastewater discharge. See Compl. at ¶¶ 34, 46-48.
       37
        42 U.S.C. § 6972(a)(1)(B). Neither EPA nor ADEM have specifically classified PFOA
and PFOS as hazardous waste. See 40 C.F.R. § 261.30-35.
       38
            42 U.S.C. § 6903(27).
       39
            See Compl. at ¶¶ 32, 34, 47–48.

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its NPDES permit.40 3M’s NPDES permit covers: (1) discharge into surface water;

(2) discharge from 3M’s wastewater treatment plant (“WWTP”) into the Tennessee

River; (3) discharge of treated groundwater; and (4) discharge of stormwater runoff

from the FSIA.41 3M requests that the Court take judicial notice of the facts

contained in these permits because they can be “accurately and readily determined

from sources whose accuracy cannot reasonably be questioned.”42

       Because the discharges discussed in the Complaint occur via point sources

authorized by 3M’s NPDES permit, Plaintiff’s RCRA claim should be dismissed.

       2.       3M’s Conduct Does Not Pose An Imminent And Substantial
                Endangerment.
       The Complaint fails to allege facts demonstrating that 3M’s conduct poses

an imminent and substantial endangerment to health or the environment. 43 To


       40
            See Ex. I (NPDES Permit).
       41
          See id. at 2; 4-19 (of pdf). Discharge to the FSIA was authorized pursuant to an
NPDES permit. See Ex. E (RAA), at 2 (“From 1978 through 1998, 3M incorporated…WWTP[]
sludge into the…Site. This sludge incorporation program was authorized by ADEM in NPDES
permit No. AL 0000205...”). Given that remediation of the FSIA is being conducted pursuant to
an NPDES remediation agreement, the discharge from the FSIA pursuant to a point source is
also excluded from RCRA. See, e.g., Williams Pipe Line Company, 964 F. Supp. at 1328–29, n.
27 (distinguishing cases finding discharge into soil subject to RCRA because in those cases,
defendants were not subject to remediation plan established under an NPDES permit as was the
case in Williams—and here).
       42
         Fed. R. Evid. 201. See also U.S. ex rel. Osheroff, 776 F.3d at 812, n.4 (citing Fed. R.
Evid. 201) (explaining that a court may consider judicially noticed documents and that “[c]ourts
may take judicial notice of publicly filed documents…at the Rule 12(b)(6) stage.”).
       43
         See Scotchtown Holdings LLP v. Town of Goshen, No. 08-CV-4720-(CS), 2009 WL
27445 (S.D.N.Y. 2009) (dismissing plaintiff’s case at the motion to dismiss stage, finding no
imminent and substantial endangerment from contamination of groundwater with road salt since,
if groundwater was contaminated, it would not be approved for human consumption).

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prevail on a RCRA claim, a citizen must show that: (1) a person; (2) contributed or

is contributing to; (3) the past or present handling, storage, treatment or disposal of

solid or hazardous waste; (4) which may present an imminent and substantial

endangerment to health or the environment.44

       Plaintiff must do more than allege the mere presence of solid or hazardous

waste in the environment.45 Plaintiff must allege that, due to the presence of the

waste, an imminent, or “immediate,” threat of a serious harm exists.46 The risk

cannot be speculative or too remote in time.47 Plaintiff must allege facts which

establish that the endangerment is serious and that there is a need for action.48

       Plaintiff fails to allege facts demonstrating an immediate, current threat of

serious harm. Plaintiff simply mentions that certain levels of PFCs “were” and

“have been found,” but fails to include details (i.e., dates of samplings) that

       44
            See 42 U.S.C. §6972(a)(1)(B).
       45
         See OSI, Inc. v. United States, 510 F. Supp. 2d 531, 540 (M.D. Ala. 2007), aff'd, 525
F.3d 1294 (11th Cir. 2008) (citation omitted); Lewis v. FMC Corp., 786 F.Supp. 2d 690, 710
(W.D.N.Y. 2011).
       46
          See Meghrig v. KFC W., Inc., 516 U.S. 479, 485 (1996); Parker v. Scrap Metal
Processors, Inc., 386 F.3d 993, 1015 (11th Cir. 2004) (citing Meghrig, 516 U.S. at 485; Cox, 256
F.3d at 292) (noting a need to show “that there is a potential for an imminent threat of a serious
harm” and explaining that “substantial” means “serious”).
       47
          See Meghrig, 516 U.S. at 485 (“An endangerment can only be imminent if it threatens
to occur immediately…there must be a threat which is present now…”); Lewis, 786 F.Supp. 2d at
706 (noting the need for evidence of a connection of the cited standards to potential and
imminent risks to humans or the environment, not “merely a speculative prospect of future harm,
the seriousness of which is equally hypothetical”).
       48
         See OSI, Inc., 510 F. Supp. 2d at 540 (“[T]he fact that remedial activity…has
commenced at a site greatly reduces the likelihood that a threat to health or the environment is
imminent).

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demonstrate an imminent threat exists or that the levels found in the Tennessee

River pose a serious endangerment.49 In addition, because 3M began to phase out

of the chemistries in 2000,50 and 3M has been remediating its site pursuant to

governmental agreements, there is no “imminent” threat.51 Accordingly, Plaintiff’s

RCRA claim should be dismissed because it fails to allege sufficient facts

demonstrating an imminent and substantial endangerment.

                V.      CONCLUSION AND REQUEST FOR RELIEF
       For all the foregoing reasons, 3M requests that the Court enter an order: (1)

granting 3M’s motion; (2) dismissing Plaintiff’s Complaint; and (3) granting 3M

such other relief, at law and in equity, and which the Court deems just and proper.




       49
          See Compl. at ¶¶ 47-48. See also, e.g., Meghrig, 516 U.S. at 485–86 (“[RCRA’s]
timing restriction is plain: An endangerment can only be ‘imminent’ if it ‘threaten[s] to occur
immediately,’ and the reference to waste which ‘may present’ imminent harm quite clearly
excludes waste that no longer presents such a danger.”); City of Fresno v. United States, 709 F.
Supp. 2d 934, 942 (E.D. Cal. 2010) (dismissing a RCRA case because, inter alia, although the
expert recited RCRA’s “magic words,” the testimony did not add anything beyond that TCP
levels exceeded the State’s non-binding public health goals and, thus, it lacked the factual detail
and specific exposure evidence found sufficient in other cases).
       50
            See Ex. A (Letter from Dr. Larry Wendling at 3M to EPA dated March 13, 2003), at 3.
       51
          See OSI, Inc., 510 F.Supp.2d at 540 (granting defendant’s summary judgment motion
because “OSI has presented no[ ] evidence to suggest that an imminent and substantial
endangerment…exists….[Defendant] is conducting a remediation program in conjunction with
ADEM to repair any contamination and resulting dangers that do exist.”); City of Fresno, 709 F.
Supp. 2d at 937-38 (dismissing plaintiff’s RCRA claim, explaining it was unclear how plaintiff
demonstrated an imminent and substantial endangerment and noting that the state “ha[d]
oversight of the remediation and ha[d] the scientific understanding and resources necessary to
investigate and remediate alleged hazards.”) (citation omitted).

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Dated: July 29, 2016              Respectfully submitted,
       Birmingham, Alabama

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                          CERTIFICATE OF SERVICE

       I hereby certify that on July 29, 2016, I electronically filed the foregoing
with the Clerk of Court using the CM/ECF filing system, which will send
notification of such filing to all counsel of record.

                                               s/ William S. Cox, III
                                               Of Counsel




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